Case No. 1:23-cv-00931-CNS-MDB Document 19-1 filed 08/04/23 USDC Colorado pg 1 of
                                     10




                                       EXHIBIT “A”
Case No. 1:23-cv-00931-CNS-MDB Document 19-1 filed 08/04/23 USDC Colorado pg 2 of
                                     10




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

                                   Case No. 1:23-cv-00931-CNS-MDB

    PREPARED FOOD PHOTOS, INC. f/k/a
    ADLIFE MARKETING &
    COMMUNICATIONS CO., INC.,

           Plaintiff,

    v.

    AM INC. d/b/a WING IT PLUS AT THE
    CHAPEL HILLS MALL,

           Defendant.


                               DECLARATION OF REBECCA JONES

          Rebecca Jones does hereby declare pursuant to 28 U.S.C. § 1746:

          1.        I am over the age of 18 and otherwise competent to testify. I make the following

   statements based on personal knowledge.

          2.        I am the Secretary of plaintiff Prepared Food Photos, Inc. f/k/a Adlife Marketing &

   Communications Co., Inc. (“Plaintiff”).

          3.        Plaintiff is in the business of licensing high-end, professional photographs for the

   food industry.

          4.        Plaintiff generally operates on a subscription basis whereby it charges its clients

   (generally, grocery stores, restaurant chains, food service companies, etc.) a monthly fee of, at

   minimum, $999.00 (https://preparedfoodphotos.com/featured-subscriptions/) for access to its

   library of professional photographs.

          5.        Plaintiff’s standard licensing terms require a minimum of a twelve (12) month

   licensing commitment (https://preparedfoodphotos.com/terms.of.use.php) to avoid scenarios


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Case No. 1:23-cv-00931-CNS-MDB Document 19-1 filed 08/04/23 USDC Colorado pg 3 of
                                     10




   whereby a licensee pays for one (1) month of access, downloads the entire library of 20,000+

   photographs, and immediately terminates the license agreement.

           6.      Plaintiff’s business model relies on its recurring monthly subscription service and

   the income derived therefrom such that Plaintiff can continue to maintain its impressive portfolio.

           7.      Plaintiff has numerous paying subscribers paying monthly subscription fees

   ranging from $999.00/month to $2,500.00/month (depending on the number of ‘end suers’ for

   which Plaintiff’s photographs are to be used). Generally stated, the bulk of Plaintiff’s subscribers

   are professional ad agencies that develop weekly ads/grocery store websites for their own ‘end

   users’ (i.e., grocery stores, meat/dairy sellers, etc.).

           8.      Plaintiff generally does not license individual photographs as doing so greatly

   diminishes the value of Plaintiff’s subscription model. Plaintiff offers semi-exclusivity to its

   licensees – Plaintiff knows exactly what ad agencies, grocery stores, etc. have access to its library

   and can assure its customers that a competitor down the street will not be using the same

   photograph(s) in its own weekly ads, circulars, internet marketing, etc. Plaintiff’s customers often

   spend tens (if not hundreds) of thousands of dollars publishing weekly ads and developing

   marketing campaigns to advertise their products/services.

           9.      Because Plaintiff markets its photographic library on the basis of its exclusivity,

   the copying and publishing of individual photographs by non-licensees greatly reduces the value

   of Plaintiff’s library. Plaintiff employs multiple full-time employees to locate and identify such

   nonauthorized uses in an effort to ensure exclusivity to Plaintiff’s licensees. Plaintiff incurs these

   expenses (payroll, etc.) to protect the integrity of its library.

           10.     Plaintiff owns each of the photographs available for license on its website and

   serves as the licensing agent with respect to licensing such photographs for limited use by

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Case No. 1:23-cv-00931-CNS-MDB Document 19-1 filed 08/04/23 USDC Colorado pg 4 of
                                     10




   Plaintiff’s customers. To that end, Plaintiff’s standard terms include a limited, non-transferable

   license for use of any photograph by the customer only. Plaintiff’s license terms make clear that

   all copyright ownership remains with Plaintiff and that its customers are not permitted to transfer,

   assign, or sub-license any of Plaintiff’s photographs to another person/entity.

          11.     Plaintiff’s library of photographs was created over a 15 – 20 year period of time

   (with new creative works being made through the present date).

          12.     Plaintiff has employed professional staff photographers and likewise utilizes other

   professional photographers (on a work-for-hire basis), all of which specialize in high-end

   product/food photography. All of these photographers are provided specific instructions with

   respect to Plaintiff’s vision/overall composition requirements – namely, that food/product

   photography should result in images/meals accessible to the general public that an average family

   could prepare for a meal. For any image (including the sixteen at issue in this lawsuit), Plaintiff’s

   photographers spend hours using specialized lighting/equipment and take dozens (if not hundreds)

   of images before identifying 1 – 2 for inclusion in Plaintiff’s library. For any given photograph,

   Plaintiff has additional costs associated with post-processing the image using specialized editing

   software such as Adobe Photoshop, Adobe Lightroom, and/or other programs so that the desired

   end-look of the photograph can be achieved, for their proper use in print or digital media

   advertising.

          13.     When Plaintiff’s staff discovers an existing (i.e., published and available for

   viewing on the internet) infringement of one of its photographs, Plaintiff creates an infringement

   notice on the date of discovery or within 1 – 2 days thereafter. The infringement notice identifies

   the date of discovery, displays the subject photograph, and displays a screenshot of the infringer’s

   alleged use together with a Website URL (if available) where the infringement is located. A true

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Case No. 1:23-cv-00931-CNS-MDB Document 19-1 filed 08/04/23 USDC Colorado pg 5 of
                                     10




   and correct copy of such infringement notices with respect to the work at issue in this lawsuit are

   attached hereto as Exhibit “1.”

          14.     In   2001,    a    professional      photographer       created     a   photograph   titled

   “ChickenWingHot007” (the “Work”). A copy of the Work is exhibited below:




          15.     The Work is owned by Plaintiff, is available for license on the above-stated terms,

   and was created through the same or substantially similar creative process as described above.

          16.     The Work was registered by Plaintiff (pursuant to a work-for-hire agreement with

   the author that transferred all rights and title in the photograph to Plaintiff) with the Register of

   Copyrights on September 29, 2016 and was assigned Registration No. VA 2-019-412. A copy of

   the Certificate of Registration pertaining to the Work is attached to the Complaint as Exhibit A


                                                       4
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Case No. 1:23-cv-00931-CNS-MDB Document 19-1 filed 08/04/23 USDC Colorado pg 6 of
                                     10




   thereto.

          17.     I am not aware of any privately owned library of photography matching the

   extensiveness and quality of Plaintiff’s library, especially when considering the overall

   theme/vision of creating photographs attractive to the average consumer to encourage such

   consumer to actually buy the product at issue (rather than an overly-complex image that leads the

   average consumer to believe that he/she could never create such a meal).

          18.     Through its ongoing diligent efforts to identify unauthorized use of its photographs,

   Plaintiff first discovered defendant AM Inc., d/b/a Wing It Plus at the Chapel Hills Mall’s

   (“Defendant”) unauthorized use/display of the Work on April 16, 2020.

          19.     Plaintiff’s primary business is the creation of new photo/video content and licensing

   such content to supermarkets, ad agencies, etc. To ensure that Plaintiff’s valuable intellectual

   property is not being misappropriated (which necessarily lowers the value thereof), Plaintiff

   employs a full-time paralegal and other staff that each (when time permits) perform reverse-image

   searches using Google Images (https://www.google.com/imghp?hl=en) and review grocery store

   electronic/print ads to determine whether Plaintiff’s images are being misused.

          20.     Plaintiff’s staff generally searches using a rotating sub-set of photographs that may

   be illegally/improperly published by non-licensees. Given the volume of Plaintiff’s library,

   Plaintiff was reasonably unable to discover Defendant’s improper use of the Work prior to April

   16, 2020.

          21.     Following Plaintiff’s discovery of Defendant’s infringement, Plaintiff sent at least

   one infringement notice to Defendant to notify it of the impermissible use. Defendant ignored the

   infringement notice and did not otherwise respond to Plaintiff.

          22.     Ultimately, Plaintiff was forced to retain counsel to pursue this matter (who itself

                                                       5
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Case No. 1:23-cv-00931-CNS-MDB Document 19-1 filed 08/04/23 USDC Colorado pg 7 of
                                     10




   sent a demand letter/infringement notice via e-mail and FedEx to Defendant).                  It is my

   understanding that Defendant did not meaningfully respond to Plaintiff’s counsel.

           23.     The ability of Defendant to reproduce, modify, distribute and display Plaintiff’s

   photography for Defendant’s own commercial benefit without compensation to Plaintiff greatly

   impairs the market value of the photographs since others competing with that business, or in related

   business areas, will not want to obtain а license to Plaintiff’s work if they are already associated

   with а competing business. Similarly, potential licensees of Plaintiff’s copyrighted photographs

   will not want to pay Plaintiff’s annual license fees for the entirety of Plaintiff’s library if they see

   other commercial enterprises taking and using Plaintiff’s photographs for their own commercial

   purposes without paying any fee at all.

           24.     The Work at issue in this lawsuit has lost significant value by the continuing

   dissemination resulting from Defendant’s infringement.



           I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.



                        8/4/2023
           DATED: _____________, 2023.




                                                        Rebecca M. Jones
                                                       ID fHW3jbETDtcj4KaudaQjwyy4
                                                     ____________________________________
                                                     Rebecca Jones




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Case No. 1:23-cv-00931-CNS-MDB Document 19-1 filed 08/04/23 USDC Colorado pg 8 of
                                     10




   eSignature Details

   Signer ID:       fHW3jbETDtcj4KaudaQjwyy4
   Signed by:       Prepared Food Photos, Inc.
   Sent to email:   doug@preparedfoodphotos.com
   IP Address:      70.169.183.74
   Signed at:       Aug 4 2023, 3:35 pm EDT
Case No. 1:23-cv-00931-CNS-MDB Document 19-1 filed 08/04/23 USDC Colorado pg 9 of
                                     10




                                        EXHIBIT “1”
     Case No. 1:23-cv-00931-CNS-MDB Document 19-1 filed 08/04/23 USDC Colorado pg 10
                                         of 10

                                                               Adlife Marketing & Communications Co., Inc.
                                                                        38 Church St • Pawtucket, RI 02860
                                                                                    Phone: (401) 723-4782



Re: Claim Number: 4628762314917985777
FRE 408 SETTLEMENT COMMUNICATION                                                  Thursday, April 16, 2020



Company Name
Wing It Plus

Company Address
1710 Briargate Blvd, Suite 452
Colorado Springs, CO 80920                                                   Image Name
                                                                          ChickenWingHot007
Company Phone Number
(719) 598-8183                                                           Registration Number
                                                                           VA0002019412
URL Containing Image
https://wing-it-plus-at-the-chapel-hills-mall.business.site/
